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IN THE UNITED STATES DISTRICT COURT f;~\

FOR THE WESTERN DIsTRICT oF TENNEssEE »€y

EASTERN DIVISION i‘;;i§\

ANITA RHODES, )
)
Plaintiff, )
)

VS. ) No. 04-»1 lOZ-T/An
)
ALLSTATE INSURANCE COMPANY )
and ACE AMERICAN INSURANCE )
COMPANY, )
)
Defendants. )

 

ORDER GRANTING MOTIONS FOR SUMMARY JUDGMENT

 

Plaintiff Anita Rhodes filed this action in the Circuit Court of Madison County,
Tennessee, on April 2, 2004 against Allstate Insurance Company (“Allstate”) and Ace
American Insurance Company (“Ace”). Plaintiff alleges that the defendants have refused
to pay policy benefits to Which she is entitled, and have violated the Tennessee Consumer
Protection Act (“TCPA”), Tenn. Code Ann. § 47-18-101 et seq. The defendants removed
the action to this Court pursuant to 28 U.S.C. § 1441 et seq. on the basis of diversity of
citizenship, 28 U.S.C. § 1332.

On December 27, 2004, Ace filed a motion for partial summary judgment on
plaintiffs TCPA claim. On January 5, 2005, before the time to respond to the motion for
partial summary judgment had expired, plaintiffs counsel moved to Withdraw from further

representation Magistrate Judge S. Thomas Anderson conducted a hearing on the motion

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to withdraw on February 7, 2005, at which both plaintiff and her counsel were present. Judge
Anderson subsequently entered an order granting counsel’s motion to withdraw, allowing
plaintiff until February 28, 2005 to obtain and notify the Court of new counsel, and extending
plaintiff’ s deadline for responding to Ace’s motion for partial summary judgment until
March 10, 2005.

Plaintiff was granted a further extension of time on February 28, 2005, giving her until
March 21, 2005 to obtain new counsel and allowing until April 5, 2005 to respond to Ace’s
motion for partial summary judgment. On March 4, 2005, Allstate filed its own motion for
summary judgment, and on March 8, 2005 , Ace filed a second motion for summary judgment
on plaintiff’s breach of contract claim.

On March 21, 2005, acting pro se, plaintiff filed a motion for voluntary dismissal of
this action without prejudice The Court denied the motion on March 23, 2005 due to
plaintiff" s failure to include either a certificate of service showing that copies of the motion
had been served on counsel for the defendants or a certificate of consultation indicating
whether the defendants opposed the motion. However, the Court advised plaintiff that she
could refile the motion with the necessary certificates

Plaintiff has not refiled her motion for voluntary dismissal. She has neither notified
the Court that she has obtained new counsel nor stated definitely that she intends to represent
herself. In addition, plaintiff has failed to file any responses to the pending motions for

summary judgment, even though the time to do so has expired, and has sought no further

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extension of time in which to do so. Therefore, the motions for summary judgment are ripe
for disposition.

Motions for summary judgment are governed by Fed. R. Civ. P. 56. If no genuine
issue of material fact exists and the moving party is entitled to judgment as a matter of law,
summary judgment is appropriate Fed. R. Civ. P. 56(c). The moving party may support the
motion for summary judgment with affidavits or other proof or by exposing the lack of
evidence on an issue for which the nonmoving party Will bear the burden of proof at trial.
Celotex Coi_~p. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but must go beyond the pleadings and “by affidavits or as otherwise provided
in this rule, must set forth specific facts showing that there is a genuine issue for trial.” Fed.

R. Civ. P. 56(e); see also Celotex Corp., 477 U.S. at 323.

 

“If the defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiffs
position will be insufficient; there must be evidence on which the jury could reasonably find
for the plaintiff`.” Anderson v. Libertv Lobbv. Inc.. 477 U.S. 242, 252 (1986). However,
the court’s function is not to weigh the evidence, judge credibility, or in any way determine
the truth of the matter but only to determine whether there is a genuine issue for trial. I_d”. at
249. Rather, “[t]he inquiry on a summary judgment motion . . . is . . . ‘whether the evidence
presents a sufficient disagreement to require submission to a [trier of fact] or whether it is

so one-sided that one party must prevail as a matter of law.”’ Street v. J.C. Bradford & Co..

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886 F.2d 1472, 1479 (6th Cir. 1989) (quoting Libem; Lobby, 477 U.S. at 251-52). Doubts
as to the existence of a genuine issue for trial are resolved against the moving party.
Adickes v. S. H. Kress & Co.. 398 U.S. 144, 158-59 (1970).

If a party does not respond to a motion for summary judgment, the F ederal Rules of
Civil Procedure provide that “summary judgment, if appropriate, shall be entered against
him.” Fed. R. Civ. P. 56(c). The fact that plaintiff did not respond does not require granting
defendant’s motion. However, if the allegations of the complaint are contravened by
defendant’s evidence and defendant is entitled to judgment as a matter of law on those facts,
then summary judgment is appropriate Smith v. Hudson, 600 F.2d 60, 65 (6th Cir. 1979).

On the evening of May 4, 2003, a tornado struck in the city of Jackson, Tennessee.
At the time, plaintiffs residence, located at 1206 Mifflin Road in Jackson, was covered by
a homeowner’s insurance policy, #063 75 0484, issued by Allstate. In addition, the residence
was covered by a Disaster Mortgage Protection Policy, #866569-1, issued by Ace. Plaintiff
alleges that her home was severely damaged by the tornado, and that she submitted claims
under both policies. However, the defendants have failed to pay all of the benefits to which
plaintiff contends she is entitled.

On July 30, 2003, having received a complaint about raw sewage surfacing on
plaintiffs property, the Jackson-Madison County Regional Health Department issued a
sanitation notice requiring plaintiff to correct the problem on or before September 4, 2003.

Plaintiff advised the Health Department that she believed the tornado had damaged the

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septic tank system and that she intended to install a new system. A Health Department
employee, J im Howell, visited the property at some point thereafter to evaluate the feasibility
of installing a new system. Howell found that there were questions regarding whether the
area was suitable for the installation of a new septic tank system due to the soil type, a
tendency of the property to occasionally flood, and the presence of several capped artesian
wells somewhere on the property. The Health Department notified plaintiff of Howell’s
findings on January 9, 2004, advising that it could not determine whether to approve the
installation of a new system without an evaluation by a soil scientist and the location of the
artesian Wells. (Bell Aff. & Ex. A.)

Following plaintiffs submission of the claim under her homeowner’s insurance
policy, Allstate’s adjusters inspected the residence on three separate occasions. In addition,
Allstate hired Martin Ellison, a professional engineer, to examine the residence and
determine the cause of the damages claimed by plaintiff`. Ellison’s inspection took place on
December 16, 2003. Allstate ultimately determined that the home had suffered some hail
damage and other damage attributable to the tomado, and paid plaintiff a total of $7,226.25.

Plaintiff claimed that various additional damages were caused by the tornado,
including that the home had shifted on its foundation, the bathroom ceiling was cracked,
decking boards under the roof were cracked causing the roof to leak, the hot water heater,
dishwasher and deep freezer were broken, and the water source heat pump was broken.

Allstate denied these aspects of plaintiffs claim based on Ellison’s determination that the

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damages were not caused by hail or otherwise attributable to the tornado. Instead, Ellison
determined that the additional damages resulted from age and settling of the structure, poor
maintenance and faulty installation of appliances. (Ellison Aff. 1]1] 4, 6-8.) It was also
Ellison’s opinion that the home‘had not shifted on its foundation. Rather, he found that “the
apparent shift was actually a bulge resulting from installation of vinyl siding directly over
clapboard siding and wood corner trim.” § 11 5.

As indicated, plaintiff also claimed that the tornado damaged her septic tank system.
Specifically, she claimed the septic tank system cover imploded and the field lines
collapsed. Ailstate denied this portion of her claim as well; however, Ellison apparently
made no findings as to the cause of any damage to the septic tank system.

Following the submission of plaintiff s claim under the Disaster Mortgage Protection
Policy, Ace requested that an independent adjuster evaluate the premises. Independent
adjuster Robert Williamson inspected the property and issued a report dated January 21,
2004. Williamson found that the plaintiffs residence was uninhabitable due to
“[s]ubstandard initial oonstruction, age and deterioration of the foundation and floor support
system and a non functioning septic tank system,” not because of the tornado or any other
covered damage (Likens Aff`., Ex. B.) Williamson also found no evidence that the house
had twisted, or shifted, due to the storm. He could not determine the cause of any damage
to the septic tank system cover because plaintiff was unable to show him where it was

located. E_. Based on Williamson’s report, Ace notified plaintiff on January 29, 2004 that

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it was denying her claim for additional benefits.1

On January 9, 2004, Walter Anderson, a professional engineer, inspected plaintiffs
residence at her request. In his deposition, Anderson testified that only twenty percent of
the damage to the home could be attributed to hail and the tornado, and that even this was
a “generous” estimate. (Anderson Dep. at 25 & Ex. 3.) Specifically, he testified that the
damage caused by the tornado was limited to some broken ceiling joists and rafters, some
broken windows in the kitchen, and one area Where the house had shifted slightly off the
foundation.2 I_c_l_. at 10-1 1, 22. Anderson further testified that the house had been neglected
and was generally in bad repair, and that the construction appeared to be substandard id
at 17, 20.

While he expressed the opinion that the house Was uninhabitable and should be
condemned, Anderson did not state that it was actually unsafe or otherwise unfit for
habitation. Rather, his opinion was based on a determination that the cost of the needed
repairs would have been more than the house was worth. § at 17-20. While the house was
unoccupied at the time of Anderson’s inspection in January 2004, plaintiff had continued
to reside there for approximately six months following the tornado. (Pl.’s Dep. at 8.) The

home has never been condemned by any authority.

 

l ln August 2003, Ace paid plaintiff $250 in accordance with policy language providing for reimbursement
of any deductible amounts incurred due to a loss under her primary homeowner’s policy.

2 As indicated supra, both Martin Ellison, Ailstate’s engineer, and Robert Williamson, Ace’s independent

adjuster, found no evidence that the home had shifted during the storm. Anderson specifically disagreed with
Ellison’s explanation of the “shift.” (Anderson Dep. at 28-29.)

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Breach of Contract Claims

 

An insurance contract is subject to the same general rules of construction and
interpretation as any other contract. M American Justice Ins. Reciorocal v. Hutchison, 15
S.W.3d 811, 814 (Tenn. 2000); McKimm v. Bell, 790 S.W.Zd 526, 527 (Tenn. 1990). “The
language of the policy must be taken and understood in its plain, ordinary and popular
sense,” Hutchison, 15 S.W.3d at 815, and “must be construed in a reasonable logical
manner, so as to effectuate the intention of the parties.” Setters v. Perrnanent Gen. Assur.
_ng, 937 S.W.2d 950, 953 (Tenn. Ct. App. 1996).

The homeowner’s policy issued to plaintiff by Allstate contains the following
exclusions from coverage:

In addition, we do not cover loss consisting of or caused by any of the
following:
15. a) wear and tear, aging, marring, scratching, deterioration, inherent
vice, or latent defect;
b) mechanical breakdown;

g) settling, cracking, shrinking, bulging or expansion of
pavements, patios, foundations, walls, floors, roofs or ceilings;

22. Planning, Construction or Maintenance, meaning faulty,
inadequate or defective:
a) planning, zoning, development, surveying, siting;
b) design, specifications, workmanship, repair, construction,
renovation, remodeling, grading, compaction;
c) materials used in repair, construction, renovation or remodeling;
or
d) maintenance

(Allstate’s Mem., Ex. 6, pp. 11-12.)

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The Disaster Mortgage Protection Policy issued to plaintiff by Ace contains the
following definitions:

Event means any sudden and accidental occurrence beyond the control of or
not intended by you, by your immediate family or by other person(s) living in
your home that physically, adversely and directly affects the habitable
condition of your premises

Permanently Uninhabitable - your premises, by reason of an event, is made
unfit for use as a residence and can not be made fit for use as a residence by
corrective action due to:

1. Condemnation of the land on which your property exists which
permanently prohibits rebuilding or reconstruction The land must be
condemned by federal, state or local statutory or common law,
ordinance rule or regulation or judicial or administrative order or
decision.

2. Movement of the land on which your property exists Which makes the
land permanently unfit for rebuilding or reconstruction as determined
by federal, state or local statutory or common law, ordinance, rule or
regulation or judicial or administrative order or decision.

Temporarily Uninhabitable - your premises, by reason of an event, is made

unfit for use as a residence for a period in excess of forty-eight (48)

consecutive hours, but can be made fit for use as a residence by corrective

action.
(Likens Aff., Ex. A, § G.)

The Ace policy provided for three specific types of coverage Coverage A provided
for payment of plaintiffs monthly mortgage payments if her property became temporarily
uninhabitable due to “direct physical loss or damage to covered property caused by an
event.” E._ § C.2-3. The exclusions under Coverage A included:

5. Normal wear and tear and/or deterioration;

6. Settling, shrinking, bulging or expansion, including resulting cracking of

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pavements, patios, foundations, walls, floors, roofs or ceilings.

8. Neglect which means your failure to take all reasonable steps to protect
your property when it is threatened with loss or damage and to take all
reasonable steps to protect your property from further loss after loss or
damage occurs.

11. Loss caused by a condition known by you to exist prior to this insurance

being placed in force or of which you should have known to exist by use of

reasonable diligence
ld,§ C.3.

Coverage B of the Disaster Mortgage Protection Policy provided for payment of the
total unpaid balance of plaintiffs mortgage if loss due to an event rendered the covered
property permanently uninhabitable Ml, § C.2-3. The Coverage B exclusions included:

1. Loss caused by a condition known by you to exist prior to this insurance

being placed in force or of which you should have known to exist by use of

reasonable diligence

4. Faulty inadequate or defective:

planning, zoning, development, surveying, siting;
design, specifications workmanship, repair, construction,
renovation, remodeling, grading, compaction;
materials used in repair, construction, renovation or remodeling; or,
maintenance;
of any part or all of any property on the insured premises

I_c_l_., § C.3.

Coverage C provided for payment of any deductible amount incurred by plaintiff as
the result of a loss paid under her primary homeowner’s policy. Ld_., § C.2. As indicated,

§ note 1, supra, in August 2003 Ace paid plaintiff $250 in reimbursement for the

deductible amount she incurred under her Allstate homeowner’s policy.

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As plaintiff has failed to respond to the motions for summary judgment, she has
offered nothing to contradict the evidence submitted by the defendants Thus, the
undisputed evidence in the record shows that the additional damages claimed by plaintiff
under her Allstate homeowner’s policy, were not the result of hail and were not otherwise
caused by the tornado. Rather, those damages were the result of normal wear and tear and
deterioration, settling, lack of maintenance and repair, and/or poor construction, all ofwhich
are unambiguously excluded under the policy. Plaintiff has also offered no evidence
establishing that the claimed damage to her septic tank system Was caused by the tornado.

As the evidence shows that most of the damages claimed by plaintiff were riot caused
by the storm, it follows that the premises were rendered neither permanently nor temporarily
uninhabitable by reason of a covered “event,” as that term is defined in the Disaster
Mortgage Protection Policy issued by Ace The property has not been condemned or
determined permanently unfit for rebuilding by any “federal, state or local statutory or
common law, ordinance rule or regulation or judicial or administrative order or decision.”
While the Health Department did decline to approve the installation of a new septic tank
system absent further study and evaluation, it did not determine that the property was
permanently unfit for rebuilding. Furthermore, as with the Allstate policy, the Ace policy
excludes losses caused by such things as deterioration, settling, inadequate maintenance and

repair, and poor construction

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The Court concludes that the material facts are undisputed on the issue of whether
the defendants breached their contracts of insurance Allstate and Ace are therefore entitled
to judgment as a matter of law on plaintiffs breach of contract claims

Tennessee Consumer Protection Act Claims

The TCPA provides a cause of action to “[a]ny person who suffers an ascertainable
loss . . . as a result of the use or employment by another person of an unfair or deceptive act
or practice . . . .” Tenn. Code Ann. § 47-18-109(a)(1). The Tennessee Supreme Court has
held that the TCPA may be applied to an insurance company’s bad faith refusal to pay a

valid claim. Myint v. Allstate Ins. Co., 970 S.W.2d 920, 926 (Tenn. 1998); see also Sparks

 

v. Allstate Ins. Co., 98 F. Supp. 2d 933, 938 (W.D. Tenn. 2000).

In her complaint, plaintiff makes a bare-bones allegation that “[d]efendants are in
violation of the Tennessee Consumer Protection Act.” (Compl. 11 10.) However, she alleges
no specific facts to support this claim. In defendants’ First Set of Interrogatories, plaintiff
was asked to identify the facts which support her allegation of a violation of the TCPA.
Although plaintiff responded that she would “supplement the allegations,” (Allstate’ s Mem.,
Ex. 2, Interr. #19), she has failed to do so.

Plaintiff has offered no evidence that either Allstate or Ace acted in bad faith in
refusing to pay additional benefits, or that the insurers acted unfairly or deceptively in
handling her claims Therefore, the defendants are also entitled to judgment as a matter of

law on plaintiffs claims under the TCPA.

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Conclusion
For all the foregoing reasons, the Motion for Partial Summary Judgment filed by Ace
on December 27, 2004 and the Motion for Summary Judgment filed on March 8, 2005 are
GRANTED. The Motion for Summary Judgment filed by Allstate on March 4, 2005 is also
GRANTED. The Clerk of Court is directed to prepare a judgment accordingly

IT IS SO ORDERED.

WZ>Q»»M

S D. TODD
TED STATES DISTRICT JUDGE

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DATE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:04-CV-01102 was distributed by fax, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

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